
PER CURIAM.
Appellant, who sought an injunction for protection against domestic violence in the trial court, now seeks review of that portion of the trial court’s order granting her petition which required her to attend a batterer’s intervention program. Because the plain language of section 741.30, Florida Statutes (2007), does not authorize a trial court to order a petitioner for an injunction for protection against domestic violence to attend a batterer’s intervention program, we vacate that portion of the trial court’s order that did so, and remand with directions that the trial court strike from its order that portion which required appellant to attend a batterer’s intervention program.
VACATED IN PART and REMANDED, with directions.
KAHN, WEBSTER, and ROBERTS, JJ., concur.
